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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                       MDL No. 2804
OPIATE LITIGATION
                                                   Case No. 1:17-md-2804
This document relates to:
                                                   JUDGE DAN AARON POLSTER
All Cases Noted on Attached Appendix


                 STIPULATION OF DISMISSAL WITH PREJUDICE
             PURSUANT TO NEW MEXICO SETTLEMENT AGREEMENT

       The undersigned Parties (the “Parties”) have settled the above-referenced litigation

against Defendant Walmart Inc. pursuant to the Walmart New Mexico Settlement Agreement,

executed on December 8, 2022, in which Plaintiffs – the New Mexico subdivisions listed in

Appendix A – have elected to participate.         Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), Plaintiffs and Walmart agree that all claims of Plaintiffs in the actions identified

in Appendix A against Walmart and the Releasees (as defined in the Walmart New Mexico

Settlement Agreement) are dismissed with prejudice, with each party to bear its own costs.


Dated April 26, 2023                          Respectfully submitted,

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SO ORDERED this 27th day of April,
2023.

________________________________
      /s/Dan Aaron Polster
Hon. Dan Aaron Polster
United States District Judge




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